Case 2:03-cr-00090-GZS Document 65 Filed 06/08/05 Page 1 of 2                  PageID #: 221




                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE


  UNITED STATES OF AMERICA,                   )
                                              )
  v.                                          )       Criminal no. 03-90-P-S
                                              )
  THOMAS L. SHAFER,                           )
                                              )
                Defendant.                    )

                     AMENDED ORDER ACCEPTING THE
              RECOMMENDED DECISION OF THE MAGISTRATE JUDGE

         On April 12, 2005 the Magistrate Judge issued a Recommended Decision (Docket

  #60) on Thomas Shafer’s Motion to Modify Sentence (Docket #57). Due to a clerical

  error the Objection to that Recommended Decision (Docket #62) and response (Docket

  #63) thereto were docketed in the civil case 05-35-P-S only. Those documents have now

  been docketed in this criminal case. Defendant has also filed an unauthorized reply to the

  response to the objections to the Recommended Decision (Docket #64).

         I have again reviewed and considered the Magistrate Judge’s Recommended

  Decision, together with the entire record; I have made a de novo determination of all

  matters adjudicated by the Magistrate Judge’s Recommended Decision; and I concur with

  the recommendations of the United States Magistrate Judge for the reasons set forth in

  her Recommended Decision, and determine that no further proceeding is necessary.

         1.     It is therefore ORDERED that the Recommended
                Decision of the Magistrate Judge is hereby
                AFFIRMED.

         2.     Defendant’s Motion to Modify Sentence (Docket #57) is
                DENIED.
Case 2:03-cr-00090-GZS Document 65 Filed 06/08/05 Page 2 of 2         PageID #: 222




                                      /s/George Z. Singal
                                      Chief United States District Judge

  Dated this 8th day of June, 2005.
